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     BURSOR & FISHER, P.A.
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     Attorneys For Plaintiffs
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 8

 9
                                  UNITED STATES DISTRICT COURT
10
                                NORTHERN DISTRICT OF CALIFORNIA
11

12
     CASINA BUTLER and BENSON PAI,                     Case No.: 4:24-cv-02955-JST
13   individually and on behalf of all other persons
14   similarly situated,                               NOTICE OF VOLUNTARY DISMISSAL
                                                       WITHOUT PREJUDICE
15                                 Plaintiffs,

16                  v.
17
     BIC USA, INC.,
18
                                   Defendant.
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     PLAINTIFFS’ NOTICE OF DISMISSAL WITHOUT PREJUDICE
     CASE NO. 4:24-CV-02955-JST
         Case 4:24-cv-02955-JST Document 29 Filed 08/30/24 Page 2 of 2




 1          TO THE CLERK OF THE COURT, ALL PARTIES AND THEIR ATTORNEYS OF
 2   RECORD:
 3          PLEASE TAKE NOTICE that, Pursuant to Federal Rule of Procedure 41(a)(1)(A)(i),
 4   Plaintiffs Casina Butler and Benson Pai hereby voluntarily dismiss their claims against Defendant
 5   Bic USA, Inc., without prejudice.
 6

 7   Dated: August 30, 2024                      BURSOR & FISHER, P.A.

 8                                               By:     /s/ L. Timothy Fisher
                                                            L. Timothy Fisher
 9
                                                 L. Timothy Fisher (State Bar No. 191626)
10                                               Emily A. Horne (State Bar No. 347723)
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     PLAINTIFFS’ NOTICE OF DISMISSAL WITHOUT PREJUDICE                                               1
     CASE NO. 4:24-CV-02955-JST
